
PER CURIAM.
Finding no reversible error, we affirm the defendant’s conviction and sentence for robbery with a firearm. As we did in Woods v. State, 740 So.2d 20 (Fla. 1st DCA 1999), we certify the following question to the supreme court, as one of great public importance:
DOES THE PRISON RELEASEE REOFFENDER PUNISHMENT ACT, CODIFIED AS SECTION 775.082(8), FLORIDA STATUTES (1997), VIOLATE THE SEPARATION OF POWERS CLAUSE OF THE FLORIDA CONSTITUTION?
JOANOS, WEBSTER and PADOVANO, JJ., CONCUR.
